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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

INTERSPORT CORP. d/b/a WHAM-O,

        Plaintiff,                                             Case No.: 1:24-cv-03541

v.                                                             Judge Matthew F. Kennelly

THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Jeffrey T. Gilbert
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on June 10, 2024 [32] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                  DEFENDANT
                70                                   HGB Direct


        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: August 29, 2024                                Respectfully submitted,



                                                     Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF(S)




                                                         29 of August,
Subscribed and sworn before me by Keith A. Vogt, on this _

2024. Given under by hand and notarial seal.




                                               STATE OF __      !_I_/
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                                               COUNTY OF --=-----------


                                                                GRISELDA DELGADO
                                                                  OFFICIAL SEAL
                                                   • N.otary Public, State of Illinois
                                                               My Commission Expires
                                                                  October 05, 2026
